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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 IN RE EVOQUA WATER TECHNOLOGIES                   Case No. 1:18-cv-10320-JPC
 CORP. SECURITIES LITIGATION



                  Notice and [Proposed] Order for Withdrawal of Counsel

       PLEASE TAKE NOTICE that, upon the annexed declaration of Brady M. Sullivan, and

subject to the approval of the Court, Brady M. Sullivan hereby withdraws as counsel for

defendants AEA Investors LP, AEA EWT Holdings LP, AEA EWT Holdings GP LLC, AEA

Investors Fund V LP, AEA Investors Participant Fund V LP, AEA Investors QP Participant Fund

V LP, AEA Investors Fund V-A LP, AEA Investors Fund V-B LP, AEA Investors PF V LLC,

AEA Investors Partners V LP, and AEA Management (Cayman) Ltd. (the “AEA Defendants”)

and shall be removed from the Case Management/Electronic Case Files (CM/ECF) notification

list in the above-captioned action. Audra J. Soloway of Paul, Weiss, Rifkind, Wharton &

Garrison LLP will continue to represent the AEA Defendants in this proceeding.


 DATED: New York New York
        November 12, 2021
                                            /s/ Brady M. Sullivan
                                            Brady M. Sullivan
                                            1285 Avenue of the Americas
                                            New York, NY 10019
                                            Tel: 212-373-3000
                                            bmsullivan@paulweiss.com
DATED: New York, New York
      November 15, 2021
SO ORDERED:


John P. Cronan
United States District Judge
